       Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 1 of 16. PageID #: 1




                            UNITED STATES DISTRICT COURT
                             NORTHERN DISTRICT OF OHIO
                                  EASTERN DIVISION

TINA IBEL and SHERYL TOMOR,
individually and on behalf of all others            Civil Action No.:
similarly situated,

       Plaintiffs,                                  CLASS ACTION COMPLAINT FOR
v.                                                  DAMAGES

NORFOLK SOUTHERN CORPORATION
and NORFOLK SOUTHERN RAILWAY
COMPANY,                                            DEMAND FOR JURY TRIAL

       Defendants.


       Plaintiffs Tina Ibel and Sheryl Tomor (“Plaintiffs”), on behalf of themselves and all others

similarly situated, file this class action complaint against Defendants Norfolk Southern

Corporation and Norfolk Southern Railway Company (collectively, “Defendants”). On personal

knowledge of their own circumstances and upon investigation and information and belief of their

counsel, Plaintiffs allege the following:

                                          INTRODUCTION

       1.      On February 3, 2023, at approximately 9:00 p.m., Norfolk Southern Railway

Freight Train 32N derailed in East Palestine, Ohio, near the Pennsylvania border.

       2.      Following this initial derailment, approximately 40 additional cars derailed and a

fire started, damaging another 12 cars.

       3.      Train 32N was transporting chemicals and combustible materials, including

hundreds of thousands of pounds of polyvinyl, polyethylene, butyl acrylates, ethylhexyl acrylate,

ethylene glycol monobutyl ether, and vinyl chloride, a toxic flammable gas. Vinyl chloride and

ethylhexl acrylate are known carcinogens.



                                                1
           Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 2 of 16. PageID #: 2




           4.    In the derailment and fire, certain of these chemicals combusted and would burn

for several days. Thick, billowing smoke emanated from the fire and spread across the town of

East Palestine and surrounding area.

           5.    The vinyl chloride was being stored in DOT105 pressurized tanks. In the heat from

the burning fire, safety valves on these pressurized tanks opened to relieve pressure and thereby

vented vinyl chloride into the atmosphere.

           6.    As the blaze continued unabated, government officials feared that the DOT105

tanks may rupture, causing an explosion. Both Ohio and Pennsylvania government officials

ordered an immediate evacuation of the vicinity within a mile of the derailment.

           7.    Defendants then punctured holes in the vinyl chloride containers, allowed the

chemical to discharge into the environment, and set it on fire. This chemical fire spread from the

site of the derailment across the surrounding community.

           8.    Approximately 1500 to 2000 East Palestine residents were told to evacuate

following the derailment. Schools remained closed for at least a week afterward. On February 6,

2023, Ohio Governor Mike DeWine expanded the evacuation area to include anyone in a one-by-

two mile area surrounding East Palestine. This included parts of western Pennsylvania.

           9.    As a result of the derailment of Defendants’ Train, and the subsequent release of

hundreds of thousands of pounds of toxic chemicals, Plaintiffs and members of the Class have

been exposed to acute and chronic toxic constituents that pose a danger to human health.

           10.   As set forth herein, derailment of Defendants’ train was the result of a failure to

exercise due care and, following the derailment, to ineffectively and inadequately contain the

fallout.




                                                  2
        Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 3 of 16. PageID #: 3




        11.     The Train derailment and resulting displacement of the East Palestine community

has interfered with the use and enjoyment of Plaintiffs’ and members of the Class’s properties,

caused harm to person and property, and led to significant emotional distress.

        12.     Accordingly, Plaintiffs bring this class action lawsuit seeking relief from

Defendants’ irresponsible and tortious conduct.

                                              PARTIES

        13.     Plaintiff Tina Ibel is a citizen of Ohio and resides in Columbiana County.

        14.     Plaintiff Sheryl Tomor is a citizen of Ohio and resides in Columbiana County.

        15.     Defendant Norfolk Southern Corporation is incorporated in Virginia with its

principal place of business located at 1200 Peachtree Street, NE, Atlanta, Georgia.

        16.     Defendant Norfolk Southern Railway Company is a wholly owned subsidiary of

Norfolk Southern Corporation. Defendant Norfolk Southern Railway Company is incorporated in

Virginia with its principal place of business located at 1200 Peachtree Street, NE, Atlanta, Georgia.

                                  JURISDICTION AND VENUE

        17.     This Court has subject matter jurisdiction over this matter under the Class Action

Fairness Act, 28 U.S.C. § 1332(d)(2). The amount in controversy exceeds $5 million, exclusive of

interest and cost. There are more than 100 class members, and Plaintiffs are citizens of a State

different from that of Defendants.

        18.     This Court has jurisdiction over Defendants because they regularly conduct

business in this District and, in fact, operated a railway enterprise in this District.

        19.     Venue is proper in this District pursuant to 28 U.S.C. § 1391(a)(1) because a

substantial part of the events and omissions giving rise to this action occurred in this District, and

Defendants’ actions and business enterprise caused harm to Plaintiffs in this District.



                                                   3
       Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 4 of 16. PageID #: 4




                                  FACTUAL BACKGROUND

       20.     Defendants operate a railway enterprise in numerous states throughout the United

States, including Ohio and Pennsylvania.

       21.     On February 3, 2023, a train of 150 cars operated by Defendants was traveling

northeast from Madison, Illinois to Conway, Pennsylvania.

       22.     Twenty miles before it reached East Palestine, Ohio, the train car was “sparking”

and/or “burning.” A “hotbox” detector in Salem, Ohio, should have detected this activity and

alerted the crew, but it is not known if this occurred.

       23.     The train car continued toward East Palestine, Ohio. East Palestine is a village of

approximately 4700 residents located 50 miles northwest of Pittsburgh, Pennsylvania.

       24.     At approximately 9 p.m., a mechanical defect alarm sounded on Freight Train 32N.

At around this same time, an overheated wheel bearing failed. Freight Train 32N derailed, causing

approximately 40 cars to derail. A fire also started, damaging 12 additional cars.

       25.     Train 32N was transporting chemicals and combustible materials, including

hundreds of thousands of pounds of polyvinyl, polyethylene, butyl acrylates, ethylhexyl acrylate,

ethylene glycol monobutyl ether, and vinyl chloride, a toxic flammable gas and known carcinogen.

Ethyhexyl acrylate is also considered a carcinogen by the Environmental Protection Agency.

       26.     In the derailment and fire, certain of these chemicals combusted and burned for

several days. Thick, billowing smoke emanated from the fire and spread across the town of East

Palestine and surrounding area.

       27.     The vinyl chloride was being stored in DOT105 pressurized tanks. In the heat from

the burning fire, safety valves on these pressurized tanks opened to relieve pressure and thereby

vented vinyl chloride into the atmosphere and, ultimately, into the surrounding community.



                                                  4
        Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 5 of 16. PageID #: 5




        28.     As the blaze continued unabated, government officials feared that the DOT105

tanks may rupture, causing an explosion. Both Ohio and Pennsylvania government officials

ordered an immediate evacuation of the vicinity within a mile of the derailment.

        29.     The Office of Ohio Governor Mike DeWine issued a news release that warned:

        The vinyl chloride contents of five rail cars are currently unstable and could
        potentially explode, causing deadly disbursement of shrapnel and toxic fumes. To
        alleviate the risk of uncontrollable shrapnel from an explosion, Norfolk Southern
        Railroad is planning a controlled release of the vinyl chloride at approximately 3:30
        p.m. today.

        According to Norfolk Southern Railroad, the controlled release process involves
        the burning of the rail cars' chemicals, which will release fumes into the air that can
        be deadly if inhaled. Based on current weather patterns and the expected flow of
        the smoke and fumes, anyone who remains in the red affected area is facing grave
        danger of death. Anyone who remains in the yellow impacted area is at a high risk
        of severe injury, including skin burns and serious lung damage.1

        30.     Defendants then punctured holes in the vinyl chloride containers, allowed the

chemical to discharge into the environment, and set it on fire. This chemical fire burned and its

constituents traveled across the East Palestine community, impacting people and properties within

the smoke and vapor plume.

        31.     Vinyl chloride is an artificial volatile organic compound. It readily converts to a

gas and travels through the air. It also travels through soil and groundwater.

        32.     Vinyl chloride is a carcinogen and is extremely toxic to humans. For this reason, it

was stored in DOT105 containers, which are required for chemicals as toxic as vinyl chloride.

There is no safe level of vinyl chloride exposure for humans. Even minor exposures can cause

DNA mutations that may later develop into cancer or other serious human disease.




1
 https://governor.ohio.gov/media/news-and-media/east-palestine-update-evacuation-area-extended-controlled-
release-of-rail-car-contents-planned-for-3-30-pm-02062023 (last visited Feb.17, 2023).

                                                    5
       Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 6 of 16. PageID #: 6




       33.     Approximately 1500 to 2000 East Palestine residents were told to evacuate

following the derailment. Schools remained closed for at least a week afterward. On February 6,

2023, Ohio Governor Mike DeWine and Pennsylvania Governor Josh Shapiro expanded the

evacuation area to include anyone in a one-by-two mile area surrounding East Palestine. This

included parts of western Pennsylvania.

       34.     During the multi-day fire, three train cars containing diethylene glycol, which is a

brake fluid, broke open and discharged into the soil and potentially the groundwater.

       35.     On February 10, 2023, the Environmental Protection Agency (EPA) stated that

Defendants’ train derailment and subsequent fire released and continues to release vinyl chloride,

butyl acrylate, ethylhexyl acrylate, and ethylene glycol monobutyl ethers to the air, surface soil,

and surface waters.

       36.     On social media and news reports, some residents reported that fish and frogs were

dying in local streams. Other residents shared images of dead animals or reported chemical smells

continuing for days after the derailment occurred.

       37.     Residents have also complained of headaches or experiencing a sick, nauseous

feeling for days after the derailment.

       38.     On February 14, 2023, state officials acknowledged a plume of spilled chemicals

had killed approximately 3500 fish and reached the Ohio River. Governor Mike DeWine stated

that if he was living in the area, he would not drink tap water.

       39.     Defendants knew or should have known that initiating an enormous chemical burn

of hundreds of thousands of pounds of volatile and toxic compounds would likely cause dangerous

human exposures, contaminate properties, kill or injure fish and wildlife, and result in the forced




                                                  6
       Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 7 of 16. PageID #: 7




evacuation of homes and schools. Despite this understanding, Defendants set fire to their chemical

cargo anyway.

                                PLAINTIFFS’ EXPERIENCES

       40.      Plaintiff Tina Ibel owns property and resides within .04 miles from the train

derailment site in East Palestine, Ohio. She has lived at her residence on Clark Street since 2017.

Ms. Ibel evacuated on February 5, 2023 to stay at a local hotel and returned to her residence on

February 10, 2023. As a result of Defendants’ negligent and reckless conduct, Ms. Ibel’s home

and property were blanketed in noxious smoke and chemical vapors emanating from the train

derailment site. A chemical and/or burning smell remains present at her property, including within

her home, even two weeks after the train derailment. A burnt train car still remains roughly 4-5

houses down from her residence. As a direct result of the train derailment and related chemicals

releases, Ms. Ibel was exposed to these noxious chemicals. Due to being exposed to the noxious

chemicals, Ms. Ibel has experienced certain symptoms, including but not limited to, headaches,

burning nose, runny nose, sore throat, persistent coughing, itchy and irritated eyes, and itchy skin.

Ms. Ibel did not experience these symptoms before the train derailment. In addition to these

symptoms, she incurred expenses resulting from purchasing food and drinks while at the hotel,

work clothes because she evacuated quickly on the night of February 5, 2023, shampoo, deodorant,

toothpaste, toothbrush, other toiletries, and gas because her commute to work was longer as a result

of being displaced from her residence. Ms. Ibel missed two days of work as a result of the train

derailment. Ms. Ibel also had to purchase cleaning supplies upon returning home.

       41.      Plaintiff Sheryl Tomor owns property and resides approximately a mile from the

train derailment site in East Palestine, Ohio. She has lived at this residence since 2006. She

evacuated her home on the nights of February 5 and 6, 2023 due to the train derailment, returning



                                                 7
         Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 8 of 16. PageID #: 8




to her home midday the following Tuesday, February 7, 2023. As a result of Defendants’ negligent

and reckless conduct, Ms. Tomor’s home and property was impacted by chemical vapors

emanating from the train derailment fire causing Ms. Tomor to be exposed to these noxious

chemicals. Due to being exposed to the noxious chemicals, Ms. Tomor has experienced certain

symptoms, including but not limited to, a persistent cough, runny nose, sore throat, dry eyes

causing eye irritation and redness, shortness of breath, dizziness, skin irritation, and periodic

headaches. Ms. Tomor did not experience these symptoms before the train derailment.

                                    CLASS ALLEGATIONS

         42.   Plaintiffs bring this action as a class action on behalf of themselves and all others

similarly situated pursuant to Rule 23(a), (b)(2), (b)(3), and (c)(4) of the Federal Rules of Civil

Procedure.

         43.   Plaintiffs bring this action on behalf of the following classes:

               Medical Monitoring Class: All natural persons who resided within a 15-mile radius
               (the “Class Zone”) of 1020 East Taggart Street, East Palestine, Ohio 44413, as of
               February 3, 2023;

               Property Damage Class: All natural persons who owned or rented a property within
               a 15-mile radius (the “Class Zone”) of 1020 East Taggart Street, East Palestine,
               Ohio 44413, as of February 3, 2023.

         44.   Excluded from the Classes are Defendants and any of their affiliates, parents, or

subsidiaries; the Judge(s) to whom this matter is assigned and their immediate family and staff;

government entities; and any individual who makes a timely election to be excluded from the

Class.

         45.   Excluded from the Medical Monitoring Class is any natural person who was not

present in the Class Zone on or after February 3, 2023.




                                                 8
        Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 9 of 16. PageID #: 9




        46.     Plaintiffs reserve the right to amend the class definitions to conform to the evidence

identified during discovery.

        47.     The proposed Classes meet the criteria for certification pursuant to Rule 23(a),

(b)(2), (b)(3), and (c)(4).

        48.     Numerosity (Rule 23(a)(1)): Although the actual number of class members is

presently unknown, there were approximately 4,500 residents of East Palestine, Ohio as of

February 3, 2023. Many, if not all, of these individuals were exposed to harmful chemicals caused

by Defendants’ train derailment, or their properties or enjoyment thereof was impacted by

Defendants’ train derailment. Joinder of all of these potential class members into a single action is

impractical.

        49.     Commonality (Rule 23(a)(2)) and Predominance (Rule 23(b)(3)): Consistent

with Rule 23(a)(2)’s commonality requirement, and Rule 23(b)(3)’s predominance requirement,

this action involves common questions of law and fact that predominate over any questions

affecting individual class members. These common questions include;

                a. Whether Defendants’ railway operations were conducted negligently,

                    recklessly, or in an otherwise tortious manner;

                b. Whether Defendants owed a duty of care to Plaintiffs and members of the

                    Classes;

                c. Whether the duty of care owed to members of the Classes obligated Defendants

                    to refrain from conduct resulting in exposing Plaintiffs and the Classes to

                    harmful chemicals;

                d. Whether Defendants breached their duty of care by causing the train derailment

                    described herein and subsequent chemical burn;



                                                  9
      Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 10 of 16. PageID #: 10




               e. Whether Defendants’ breach caused Plaintiffs and members of the Classes to

                   experience harmful chemical exposures to their person or property;

               f. Whether medical monitoring is available to provide early detection benefits to

                   members of the Medical Monitoring Class;

               g. Whether members of the Property Damage Class are entitled to damages for the

                   interference with the use and enjoyment of their properties.

       50.     Typicality (Rule 23(a)(3)): Plaintiffs’ claims are typical of those of the members

of the Classes. Plaintiffs reside and/or own or rent property in the Class Zone and were present

when the Class Zone was blanketed with toxic chemicals following Defendants’ train derailment.

Thus, Plaintiffs will pursue the same claims and legal theories seeking the same damages as the

members of the Class.

       51.     Adequacy (Rule 23(a)(4)): Plaintiffs are adequate representatives of the proposed

Classes because they are members of one or both Classes and are committed to pursuing this matter

against Defendants to obtain relief for the Classes. Plaintiffs have no conflicts of interest with the

Classes. Further, Plaintiffs’ counsel are competent and experienced in litigating class actions,

including environmental litigation and matters seeking medical monitoring relief.

       52.     Superiority (Rule 23(b)(3)): A class action is a superior means for the fair and

efficient adjudication of this controversy. Because environmental claims of this nature are complex

and expensive, most members of the Classes would likely find the cost of adjudicating their

individual claims to be unduly prohibitive and will thus have no adequate remedy at law. Absent

a class action, members of the Classes will have no reasonable way to remedy their harm, and may

continue to incur damages, and Defendants’ misconduct will continue unabated.




                                                 10
      Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 11 of 16. PageID #: 11




        53.     Class treatment of common questions of fact and law is superior to multiple

individual actions or piecemeal litigation because it will conserve the resources of this and other

courts and the litigants, and will promote consistency and efficiency of adjudication. There is no

impediment to the management of this action as a class action because the questions of fact and

law are virtually identical for Plaintiffs and members of the Classes.

        54.     Injunctive and Declaratory Relief: Class certification is also appropriate under

Rule 23(b)(2) and (c). Defendants, through their uniform conduct, acted and refused to act on

grounds applicable to the Classes as a whole, making injunctive and declaratory relief appropriate.

        55.     In addition, there are particular issues appropriate for certification under Rule

23(c)(4) and, in the alternative to certification under Rule 23(b)(3), certification of these particular

issues would advance the disposition of this matter and the parties’ interests.

                                    COUNT I: NEGLIGENCE
                                    (On behalf of the Classes)

        56.     Plaintiffs incorporate by reference each and every prior allegation of this Complaint

as if fully set forth herein.

        57.     Defendants owed Plaintiffs and Class Members a duty to conduct their railway

operations in a manner that would not cause Plaintiff and Class Members injury or harm.

        58.     Defendants also owed Plaintiffs and Class Members a duty to transport hazardous

and toxic chemicals using reasonable care and in a manner that minimized the possibility those

chemicals would be released to the environment.

        59.     Defendants breached their duty of care by operating Train 32N in a negligent

manner, causing it to derail, and by releasing toxic chemicals, including vinyl chloride, to the

environment and the community surrounding East Palestine, Ohio.




                                                  11
      Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 12 of 16. PageID #: 12




       60.     Defendants further breached their duties by failing to contain and prevent chemicals

released from Train 32N, including vinyl chloride, from spreading to and contaminating the

surrounding environment and exposing individuals within the Class Zone.

       61.     As a direct and proximate result of Defendants’ tortious conduct, Plaintiffs and

Class Members were exposed to toxic chemicals and significant levels. These exposures have

created a significantly increased risk of disease or illness.

       62.     Further, as a direct and proximate result of Defendants’ tortious conduct, Plaintiffs’

property has been contaminated, as has the groundwater and drinking water supply in East

Palestine, Ohio.

       63.     Plaintiffs and Class Members have suffered discomfort, inconvenience, loss of use

and enjoyment of their properties, displacement from their homes, emotional distress, and

diminution in property value.

       64.     Plaintiffs have been exposed to toxic chemicals released from Train 32N at levels

far higher than background exposure levels. Some of these chemicals, including vinyl chloride,

are known carcinogens.

       65.     As a result of the injuries caused by Defendants’ tortious conduct, Plaintiffs are

entitled to damages for lost property value, discomfort and inconvenience, personal injury, and

toxic exposure.

       66.     Monitoring procedures exist and may be reasonably obtained that allow for early

detection of diseases and illnesses associated with Plaintiffs’ exposure. These monitoring

procedures are different than those typically obtained and recommended in the absence of toxic

exposures and are reasonably necessary due to Plaintiffs’ and Class Members’ exposures to toxic

chemicals released from Defendants’ train derailment.



                                                  12
      Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 13 of 16. PageID #: 13




        67.     Accordingly, and in addition to the damages set forth above, Plaintiffs are entitled

to the quantifiable costs of a medical monitoring program.

        68.     For the reasons set forth herein, Defendants were grossly negligent, acted with

reckless indifference to the health and well-being of Plaintiffs and the Classes, and/or intentionally

failed to take the precautions necessary to prevent foreseeable railway accidents and, in the event

of such accident, to prevent massive chemical releases of the sort that occurred herein. Defendants’

conduct warrants an award of punitive damages.

                                COUNT TWO: PRIVATE NUISANCE
                                    (On behalf of the Classes)

        69.     Plaintiffs incorporate by reference each and every prior allegation of this Complaint

as if fully set forth herein.

        70.     Defendants’ train derailment and resulting chemical fire has contaminated property

and drinking water resources, contaminated the ecosystem, and caused widespread fish deaths

within the Class Zone.

        71.     Defendants’ tortious acts, as described herein, have interfered with Plaintiffs’ use

and enjoyment of their properties, caused displacement, and caused Plaintiffs to suffer injuries,

inconvenience, and emotional distress.

        72.     Plaintiffs have suffered injuries, as described herein, that are different from those

experienced by the public generally, including the contamination of their property and drinking

water and interference with use of their properties.

        73.     Defendants’ train derailment and the resulting chemical fire has created a private

nuisance to those owners and renters of property within the Class Zone. This private nuisance has

proximately caused the injuries described herein.




                                                 13
      Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 14 of 16. PageID #: 14




          74.   Defendants’ negligent, reckless, and/or intentional acts and omissions were

unreasonable and constitute a continuous invasion of the property rights of Plaintiffs and the Class

Members.

          75.   As a direct and proximate result of Defendants’ acts and omissions as alleged

herein, Plaintiffs and Class Members have incurred, and will continue to incur, costs and expenses

related to the contamination of their properties and drinking water, as well as the damages set forth

herein.

                                     COUNT THREE: TRESPASS
                                (On behalf of the Property Damage Class)

          76.   Plaintiffs incorporate by reference each and every prior allegation of this Complaint

as if fully set forth herein.

          77.   Defendants, through the tortious conduct alleged herein, caused toxic chemicals to

contaminate Plaintiffs’ and Class Members’ properties.

          78.   Plaintiffs and Class Members did not consent to the chemical contamination of their

properties, as alleged herein. Defendants knew or should have known that Plaintiffs and Class

Members would not consent to this trespass.

          79.   As a direct and proximate result of Defendants’ acts and omissions, as alleged

herein, Plaintiffs’ properties have been contaminated, causing significant damage, including

actual, consequential, and nominal damages, for which Defendants are responsible.

      COUNT FOUR: STRICT LIABILITY FOR ULTRAHAZARDOUS ACTIVITY
                          (On behalf of the Classes)

          80.   Plaintiffs incorporate by reference each and every prior allegation of this Complaint

as if fully set forth herein.




                                                  14
       Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 15 of 16. PageID #: 15




        81.    In the alternative to the first claim for relief, Plaintiffs bring this claim for strict

liability.

        82.    Defendants’ transport of dangerous and toxic chemicals constituted an abnormally

dangerous or ultrahazardous activity for which Defendants are liable.

        83.    Defendants’ transport of dangerous and toxic chemicals, using the transport

materials that were used, was inappropriate to the place where it was carried out, especially given

the close proximity to residential communities like East Palestine, Ohio.

        84.    The transport of these dangerous and toxic chemicals cannot be made safe by

exercise of due care. Furthermore, the burning of chemicals to avoid a massive explosion is

inherently unsafe and abnormally dangerous. These actions posed an unreasonable risk to the

health and safety of Plaintiffs and members of the Class.

        85.    As a result of Defendants’ abnormally dangerous activities, Plaintiffs and Class

Members have suffered and will continue to suffer harm to their properties and injury to their

person, resulting in damages as set forth herein.

                                    REQUEST FOR RELIEF

        WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated,

respectfully request that the Court enter judgment in their favor and against Defendants as follows:

        a.     For an order certifying the Classes, as defined above, and appointing Plaintiffs and
               their counsel to represent the Classes;

        b.     For damages, including compensatory, punitive, and exemplary damages, in an
               amount determined to be just and reasonable;

        c.     For an award in an amount determined to be just and reasonable to fund a medical
               monitoring program;
        d.     For an award of attorneys’ fees, costs, and litigation expenses, as permitted by law;
        e.     For prejudgment interest on all amounts awarded;


                                                 15
     Case: 4:23-cv-00315-JPC Doc #: 1 Filed: 02/17/23 16 of 16. PageID #: 16




       f.      For injunctive and declaratory relief, as permitted by law; and
       g.      Such other and further relief as this Court may deem just and proper.
                                    JURY TRIAL DEMAND
       Plaintiffs demand a trial on all issues so triable.

Dated: February 17, 2023                       Respectfully submitted,

                                               /s/ Terence R. Coates
                                               Terence R. Coates (0085579)
                                               Justin C. Walker (0080001)
                                               MARKOVITS, STOCK & DEMARCO, LLC
                                               119 E. Court Street, Suite 530
                                               Cincinnati, OH 45202
                                               Tel: 513.651-3700
                                               tcoates@msdlegal.com
                                               jwalker@msdlegal.com

                                               James J. Bilsborrow*
                                               Robin L. Greenwald*
                                               Weitz & Luxenberg, PC
                                               700 Broadway
                                               New York, New York 10003
                                               (212) 558-5500
                                               jbilsborrow@weitzlux.com
                                               rgreenwald@weitzlux.com

                                               Gary M. Klinger*
                                               MILBERG COLEMAN BRYSON PHILLIPS
                                               GROSSMAN, LLC
                                               221 West Monroe Street, Suite 2100
                                               Chicago, IL 60606
                                               (866) 252-0878
                                               gklinger@milberg.com

                                               Nick Suciu III*
                                               MILBERG COLEMAN BRYSON
                                               PHILLIPS GROSSMAN, LLC
                                               6905 Telegraph Rd., Suite 115
                                               Bloomfield Hills, MI 48301
                                               Tel: (313) 303-3472
                                               Fax: (865) 522-0049
                                               nsuciu@milberg.com
                                               *pro hac vice forthcoming
                                               Counsel for Plaintiffs and the Putative Class

                                                  16
